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                                    United States District Court
                                             District of Utah
Markus B. Zimmer                                                                                   Louise S. York
Clerk of Court                                                                                      Chief Deputy




                                              March 10, 2005
    Mr. Patrick Fisher, Clerk United
    States Court of Appeals for the
    Tenth Circuit
    1823 Stout Street Denver, CO
    80257



    __

    RE:      04-4312
             World Wide Assoc. v. Pure, Inc.
             Lower Docket: 2:02-CV-10-PGC

    Dear Clerk of Court:

             Please be advised that the record is complete for the purposes of appeal.

    Sincerely,

    Markus B. Zimmer, Clerk


    By: /S
    Aaron Paskins
    Appeal’s Clerk

    cc: Counsel of Record




                                                                                                   290



Frank E. Moss U.S. Courthouse                350 South Main Street                 Salt Lake City, Utah 84101-2180
        Office of the Clerk                       Suite 150                               801/524-6100
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